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 1   CRIS C. VAUGHAN, SBN 99568
     VAUGHAN & ASSOCIATES
 2
     400 Continental Boulevard, 6th Floor
     El Segundo, CA 90245
 3   Telephone: (310) 426-2836
     Facsimile: (310) 426-2001
 4
     cvaughan@adasolutionsgroup.com
 5
     Attorneys for Defendant, James Robert Harmelin
 6   .

 7                            UNITED STATES DISTRICT COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
 9

10
     Chris Langer,                                Case No. 2:18-cv-05738-JFW-PJW
11
                 Plaintiff,
12                                                DECLARATION OF LEAD TRIAL
13
           v.                                     COUNSEL RE: COMPLIANCE WITH
                                                  LOCAL RULES GOVERNING
14   Elsie I. Wynn, as Trustee of the Wynn        ELECTRONIC FILING
     Family Trust dated June 19, 2003;
15   James Robert Harmelin, a California
     corporation; and Does 1-10,
16
                 Defendants.
17

18

19         I, Cris C. Vaughan, declare:

20         1.    I am an attorney duly licensed to practice law before all courts of the

21   State of California and the attorney of record for Defendant, James Robert

22   Harmelin.

23         2.    I am the lead trial counsel for Defendant, James Robert Harmelin in

24   the above-entitled action.

25         3.    I am a registered CM/ECF user in the United States District Court for


                                             -1-
                        DECLARATION OF LEAD COUNSEL -- 2:18-cv-05738-JFW-PJW
Case 2:18-cv-05738-JFW-PJW Document 12 Filed 09/18/18 Page 2 of 2 Page ID #:65




 1   the Central District of California.

 2         4.      My email address of record is cvaughan@adasolutionsgroup.com, and

 3   I have consented to service and receipt of filed documents by electronic means.

 4

 5         I declare under penalty of perjury under the laws of the United States that the

 6   foregoing is true and correct.        Executed on September 18, 2018, at Loomis,

 7   California.

 8

 9
                                              /s/ Cris C. Vaughan
10                                            CRIS C. VAUGHAN
                                              Attorney for Defendant, James Robert
11                                            Harmelin

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                        DECLARATION OF LEAD COUNSEL -- 2:18-cv-05738-JFW-PJW
